AQ 245B (Rev. 06/05}

Sheet [- Judgment ina Criminat Case

~ United States District Court

Eastern District of Missouri
UNITED STATES OF AMERICA

 

JUDGMENT IN A CRIMINAL CASE

¥

MICHAEL J. DEVLIN CASE NUMBER: 4:07CR143 JCH

USM Number: 34499-0440

TIE. DEFENDANT: Michael Kielty oo
Defendant's Attorney

| pleaded guilty to count(s) Qne (1) through Six (6) of the Indictment on October 10, 2007.

 

| | pleaded nolo contendere to count(s)}
which was accepted by the court.
| | was found guilty on count(s)
after a plea of not guilty
he defendant is adjudicated guilty of these offenses:
Date Offense Count

 

‘Tithe & Section Nature of Offense Concluded Number(s)
18 USC § 2251(a) and punishable Knowingly employ, use, pursuade, induce, entice, and coereeaminor,10 = Qctober 6, 2002 to One (1)
der 18 USC § 2251{e) engape in sexually éxplieit conduct. and said sexually explicit conduct was lor July 1. 2003
unde whe Ss {¢) the purpose of producing a visual depiction of such conduct uly |,
18 USC § 225 !(a) and punishable Knowingly employ, use, pursuade, induce, entice, and coerce aiminor, to July 1, 2003 to ‘Two (2)
we SC 8225 lle engage in sexually explicit conduct, and said sexually exphet conduct was for J 12. 2007
under 18 USC 8 22 (¢) the purpose of producing a visual depiction of such conduct anuary 5
IS USC & 225) (a) and punishable Knowingly employ, use, pursuade, induce, enlice, and coerce a minor, to July 1, 2003 to ‘Three (3)
ey engape in sexilally explicnt conduct, and said sexually explicit eonduct was for
der [8 USC § 2251 erat coma ane ad sees eupticit conduct was fr January 12, 2007
uUnael she - (e) the purpose of producing a visual depiction of such conduct anuary :

‘The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentencc is imposed pursuant
to the Sentencing Reform Act of 1984, —

| The defendant has been found not guilty on count(s)
1
Count(s) oe - dismissed on the motion of the United States.

iS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any changc of
name. residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

December 21, 2007 _

Date of Imposition of Judgment

 

Honorable Jean C. Hamilton

United States District Judge
Name & Title of Judge

 

December 21, 2007 _

Date signed

Record No. 8&5]
Case: 4:07-cr-00143-JCH Doc. #: 29 Filed: 12/21/07 Page: 2 of 8 PagelD #: 94

\OMAB Res 06:05) Sheet 1A - Judgment ma Criminal Case

Judgment-Pape

DEFENDANT; MICHAEL J. DEVLIN
CASE NUMBER: 4:07CR143 ICH

District: Eastern District of Missouri

ADDITIONAL COUNTS OF CONVICTION

Date Offense

 

 

Title & Section Nature of Offense

Concluded
Ig USC § 2251 (a) and punishable Knowingly mney Use. pursuade, Induce, sutices ana coerce a inner, 10 § July 1, 2003 to
. wg enpape m sexually explicit conduct, and said sexually explicit conduct was for
under 18 USC § 225 I{c) the purpose of producing a visual depiction of such conduct January 12, 2007
IS USC § 2423(a) and punishable Knowingly transpart an individual under the age of 18 in interstate or foreign Fe bruary 13, 2004 to

commierec, with the intent that the individual engage in any sexual activity for
which a person can be charged with a criminal offense

under 18 USC 2423(a) February 15, 2004

18 USe § 2423(a) and punishable Knowingly transport an tndividual under the age of 18 in interstate ar foreign June 20, 2004 to
. cominerec, with the intent thal the individual engage in any sexual activily for ,

under 18 USC 2423(a) which a person can be eharged with a criminal offense July 3, 2004

2 or 7

Count
Number(s)

our (4)
Five (5)

Six (6)
AO SB Rev, 0605) Judgment in Criminal Case Sheet 2 - Imprisonment

Judgment-Page __ 3 or 7
DEFENDANT: MICHAEL J. DEVLIN
CASE NUMBER: 4:07CR143 JCH
District: Eastern District of Missouri

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for

a total term of 170 years.

Iclendant is hereby committed to the custody of the Bureau of Prisons to be imprisoned for a term of 240 months on count one and 360
months on each of counts two through six, al! such terms to be served consecutively for an aggregate sentence of 170 years. This sentence
shall run consecutively to the sentences the defendant is currently serving for the State of Missouri in Docket Number 07E1-CRO0015-01,
trom Franklin County, Missouri, Docket Number 07 WA-CRO00002, from Washington County, Missouri and Docket Number 07CR-541,
from St. Louis County, Missouri, pursuant to the provisions of Section 5G1.3(c).

| The court makes the following recommendations to the Bureau of Prisons:
While in the custody of the Bureau of Prisons, it is recommended that the defendant be evaluated for participation in the residential sex

offender treatment and counseling program and the Residential Drug Abuse Program, if this is consistent with the Burcau of Prisons
policies.

bX The defendant is remanded to the custody of the United States Marshal.

| | The defendant shall surrender to the United States Marshal for this district:

| | at — am./pm on

| | as nolified by the United States Marshal.

| | ‘The defendant shall surrender for service of sentence al the institution designated by the Bureau of Prisons:

|
|

as notified by the United States Marshal

| | before 2 p.m. on
| as notified by the Probation or Pretrial Services Office

MARSHALS RETURN MADE ON SEPARATE PAGE
Se a Cana resasee ne

AQ WSR (Rey, 0645) — Judgment in Criminal Case Sheet 3 - Supervised Release

Judgment-Page 4 ef 7

DEFENDANT: MICHAEL J. DEVLIN
CASE NUMBER: 4:07CR143 JCH
District: Eastern District of Missouri

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of life.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to onc drug test within
15 days of releasc from imprisonment and at least two periodic drug tests thereafter, as directed by the probation officer.

| ’ | The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk
of future substance abuse, (Check, if applicable.)
x] The defendant shal] not possess a ftrearm as defined in 18 U.S.C, § 921. (Check, if applicable.)

| | ‘The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable)

><] The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

| | ‘The Defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that lhe defendant pay in
accordance with the Schedule of Payments shect of this judgment

‘lhe defendant shall comply with the standard conditions that have becn adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

|) the defendant shall nol leave the judicial district without the permission of the court or probation officer;

2} the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsihilities:

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training, or other

acceptable reasons;

6) the defendant shall notify the probation officer ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled

substance or paraphernalia related to any controlled substances, except as prescribed by a physician:

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted

ofa fclony unless granted permission to do so by the probation officer;
{Q) the defendant shall permit a probation officer to visit him or her at any time at home or clsewhere and shall permit

confiscation of any contraband observed in plain view of the probation officer;
1!) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shal! not enter into any agreement to act as an informer or a special agent of a law enforcement agency
withoul the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's crimtnal record or personal history or characteristics, and shall permit the probation officer to make such

notifications and to confirm the defendant's compliance with such notification requirement.
AQ. M15B (Rev. 06:05) Judgment in Criminal Case Sheet 34 - Supervised Release

 

 

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DEFENDANT: MICHAEL J. DEVLIN
CASE NUMBER: 4:07CRI43 JCH

District: Eastern District of Missouri

ADDITIONAL SUPERVISED RELEASE TERMS

 

 

1, he defendant shall refrain from any unlawful use of a controlled substance and submit to a drug test within 15 days of commencement
of supervision and at least two periodic drug tests thereafter for use of a controlled substance.

2. The defendant shall participate in a drug or alcohol abuse treatment program approved by the United States Probation Office, which
may include substance abuse testing, counseling, residence in a Community Corrections Center, residence in a Comprehensive Sanctions
Center, Residential Re-Entry Center, or inpaticnt treatment in a treatment center or hospital, The defendant shall pay for the costs
associatcd with substance abuse services based on a co-payment fee established by the United States Probation Office. Co-payments shall
never exceed the total cost of services provided.

3. The defendant shall participate in a mental health program approved by the United States Probation Office. The defendant shall pay for
ihe costs associated with treatment based on a co-payment sliding fee scale approved by the United States Probation Office. Co-payments
shall never exceed the total costs of treatment.

4. The defendant shall comply with al! federal, state, and local sex offender registration laws and provide verification of registration to the
United States Probation Office.

5. The defendant shall participate in a sex-offense specific treatment program. The defendant shall enter, cooperate, and complete said
program until released by the United States Probation Office. The defendant shall abide by all policies and procedures of the scx-offense
specific program. During the course of said treatment, the defendant shall be subject to periodic and random physiological testing which
inay include but is net limited to polygraph testing and/or other specialized assessment instruments, The defendant shall pay for the casts
associated with treatment based on a co-payment sliding fee scale approved by the United States Probation Office. Co-payments shall
never exceed the total costs of treatment,

6. ‘The defendant shail be prohibited from contact with children under the age of 18 without the prior written permission of the United
States Probation Office and shall report to the United States Probation Office immediately, but in no cvent later than 24 hours, any
unauthorized contact with children under the age of 18.

7. The defendant shall be prohibited from engaging in any occupation, business, or profession where he has access to children under the
age of 18 without prior written approval from the United States Probation Office.

8. The defendant shall not loiter within 100 fect of schools, parks, playgrounds, arcades, or other places frequented by children under the
age of 18.

9. The defendant shall not possess obscene material as deemed inappropriate by the probation officer and/or treatment staff, or patronize
any place where such material or entertainment is available.

10. The defendant shall not purchase or maintain a post office box or any other type of private mail box without written approval of the
probation officer,

11. ‘lhe defendant shall not possess or use a computer, gaming equipment with web and/or internet capability, or any audio/visual
recording or producing equipment, except with the written permission of the probation officer.

12. he defendant shall not enter the premises or loiter ncar where the victim(s) resides, is employed or frequents cxcept under
circumstances approved in advance and in writing by the probation officer.

13. ‘The defendant shall pay the costs of any counseling received and any future counseling for the victim(s) of the instant offensc, should
counseling be pursued.

14. The defendant shall submit his person, residence, office or vchicle to a search, conducted by the United States Probation Office at a
reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be
subject lo searches pursuant to this condition.

15. The defendant shall advise the probation officer of all computer, electronic equipment, and web enabled equipment, including cell
phones, to which he possesses or has access within 24 hours of obtaining same.
 

 

 

 

 

AGHAST (Res 06/05) Judgment in Criminal Case Sheet 5 - Criminal Monetary Penalties _
SO - Judpment-Pape 8 gp 7
DEFENDANT: MICHAEL J, DEVLIN
CASE NUMBER: 4:07CR143 JCH
District: Eastern District of Missouri
CRIMINAL MONETARY PENALTIES
‘Vhe defendant must pay the total criminal monetary penalties under the schedule of payments on sheet 6
Assessment Fine Restitution
Totals: $600.00
| ‘The determination of restitution is deferred until _ An Amended Judgment in a Criminal Case (AO 245C)

| will be entered after such a determination.

| The defendant shall make restitution, payable through the Clerk of Court, to the following payees in the amounts listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified

otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. 3664(1), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

Totals:

| Restitution amount ordered pursuant to plea agreement

[| The defendant shall pay interest on any fine of more than $2,500, unless the fine is paid in full before the fifteenth day
aller the date of judgment, pursuant to 18 U.S.C. § 36) 2(f). All of the payment options on Sheet 6 may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

| | The court determined that the defendant does not have the ability to pay interest and it is ordered that:

| | The interest requirement is waived for the. CI fine and /or L] restitution.

| | ‘The interest requirement for the [[] fine [1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, [994 but before April 23, 1996.
Sheet 6 - Schedule of Payments

 

AQ AB (Rev 96/05) Judgment in Criminal Case

Judyment-Page 7 so
DEFENDANT: MICHAEL J, DEVLIN

CASI NUMBER: 4:07CR143 JCH

District; Eastern District of Missouri

SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be duc as follows:

A lump sum payment of $600.00 due immediately, balance due

[_] not later than , or
& in accordance with [J c, [1 D,or [J E below; or J F below; or
BL) Payment to begin immediately (may be combined with Oe © dor OC Ebelow; or OU F below; or
€ (] Payment in (e.g., equal, weekly, monthly, quarterly) installments of over a period of

€.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

» CJ Payment in (e.g., equal, weekly, monthly, quarterly) installments of over a period of
e.g., months or years), [0 commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

FE () Payment during the term of supervised release will commence within (e.2., 30 or 60 days) after Relcase from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay al that time: or

F Special instructions regarding the payment of criminal tnonetary penalties:
IT IS FURTHER ORDERED that the defendant shall pay to the United States a special assessment of $100.00 on each of counts one through six, for a total of
$600.00, that shall he due immediately.

Untess the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of crtminal monctary penaltics is due
during the period of imprisonment. All criminal monetary penalty payments, except those payments made through the Burcau of Prisons’
Inmate Financial Responsibility Program are made to the clerk of the court.

‘The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed,

| | Joint and Several
Defendant and Co-defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Scveral Amount,

and corresponding payee, if appropriate.

| | The defendant shall pay the cost of prosecution.

| | ‘The defendant shall pay the following court cost(s):

| The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1 ) assessment; (2) restitution principal, (3) restitution interest, (4) fine principal,
(5)fine interest (6) community restitution.(7) penalties, and (8) costs, including cost of prosecution and court costs.
Case: 4:07-cr-00143-JCH Doc. #: 29 Filed: 12/21/07 Page: 8 of 8 PagelD #: 100

 

B a DEFENDANT: MICHAEL J. DEVLIN
_ hia CASE NUMBER. 4:07CR143 JCH

  

 

USM Number: 34499-09044

UNITED STATES MARSHAL
RETURN OF JUDGMENT IN A CRIMINAL CASE

 

 

[ have executed this judgment as follows:

 

 

 

 

 

 

 

The Defendant was delivered onesie oe
al with a certified copy of this judgment.
UNITED STATES MARSHAL
By
Deputy U.S. Marshal
C] The Defendant was released on to Probation
C] The Defendant was released on to. |S «Supervised Release
L] and a Fine of CL] and Restitution inthe amount of.
UNITED STATES MARSHAL
By

- Deputy U.S. Marshal

[ certify and Return that on. , | took custody of

 

at and delivered same to

 

on Be PET,

U.S. MARSHAL E/MO

By DUSM
